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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

DIAMEDICA THERAPEUTICS, INC.,

                          Plaintiff,                 C.A. No. 18-01318 MN

                     v.
                                                     PUBLIC VERSION
PRA HEALTH SCIENCES, INC. and,
PHARMACEUTICAL RESEARCH                              April 15, 2019
ASSOCIATES GROUP B.V.,

                          Defendants.



                    PLAINTIFF’S REPLY BRIEF IN SUPPORT OF
                         MOTION TO TRANSFER VENUE




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                                        INTRODUCTION

        DiaMedica has been trying to get to the merits of its claims, but Defendants insist on

throwing up procedural hurdles in the hopes of avoiding having a Court shed light on their

behavior. After filing the action in New York, PRA Netherlands complained that the Court lacked

personal jurisdiction over it. Due to this defense, DiaMedica dismissed that action and filed here.

Again, PRA Netherlands complains about jurisdiction. In response, DiaMedica moved to transfer

to Minnesota under Section 1404(a), the general purpose of which is to remove “‘whatever

obstacles may impede an expeditious and orderly adjudication of cases and controversies on their

merits.’” 1

        Defendants responded, in essence, that PRA Netherland, part of PRA’s global CRO, cannot

be sued anywhere but in the Netherlands. Defendants argue that the Court should deny the Motion

because (1) DiaMedica could not have filed this action in Minnesota, (2) the Jumara factors weigh

against transfer, and (3) the Court should dismiss the action based on statute of limitations.

        PRA Netherlands claims no employee visited Minnesota in nine years. PRA USA is more

cryptic, asserting only that it has no registered agents or affiliate companies in Minnesota. Yet, it

is clear that Defendants, through their agents, traveled to, and made multiple contacts with,

Minnesota in connection with the contract and the Study. What’s more, PRA has a material

presence in Minnesota. “PRA Health Sciences” posts job openings for clinical research associates

for Minnesota, LinkedIn has multiple profiles of employees in Minnesota, and it has been a




1
  U.S. v. Berkowitz, 328 F.2d 358, 361 (3d Cir. 1964) (citation omitted) (Sections 1406 and 1404
are companion sections that are “remedial in nature, enacted at the same time, and both dealing
with the expeditious transfer of an action from one district or division to another” and thus, the
rationale of one applies to the other.) Id.
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 “collaborator” on multiple clinical studies in Minnesota. Thus, this action could have properly

 been filed in Minnesota.

           Defendants’ preference to litigate in the Netherlands is irrelevant and does not defeat the

 Motion and the Jurmara factors weigh in favor of transfer.

           Finally, for several reasons discussed below, Defendants’ statute of limitations arguments

  does not defeat the Motion.

                                             ARGUMENT

I.         Minnesota is an appropriate forum

           To survive a motion to dismiss, a plaintiff must make a “prima facie case that the forum

  state has personal jurisdiction over the defendant. In the absence of an evidentiary hearing, a court

  must look at the facts in the light most favorable to the nonmoving party and resolve all factual

  conflicts in favor of that party.” 2 For personal jurisdiction, the Eighth Circuit considers: “(1) the

 nature and quality of defendant’s contacts with the forum state; (2) quantity of contacts; (3) source

 and connection of the cause of action with those contacts; and to a lesser degree, (4) the interest of

 the forum state; and (5) the convenience of the parties.” 3

           In a breach of contract case, the court will “determine whether a defendant purposely

 availed itself of the forum state by considering the prior negotiations, contemplated future

 consequences, and terms of the contract, and the parties’ actual course of dealings.” 4




 2
   Rust Consulting, Inc. v. Schneider Wallace Cottrell Konecky Wotkyns, LLP, 2018 WL 1247390,
 at *1 (D. Minn. Mar. 9, 2018) (citation and internal quotation marks omitted); Scoular Co. v. Ceres
 Global Corp., 2015 WL 1275347, at *5 (D. Minn. Mar. 19, 2015).
 3
     Id. at *2 (citation omitted).
 4
     Id.

                                                    2
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          DiaMedica has made a sufficient showing of personal jurisdiction. 5 Over a five-year

period, Defendants solicited DiaMedica’s business in Minnesota, it signed contracts in Minnesota,

numerous calls and emails were sent to DiaMedica, and Defendants’ representatives met with

DiaMedica in Minnesota. 6 These contacts relate to the formation and performance of the contract

and are sufficient to show specific personal jurisdiction in Minnesota. 7

          Additionally, PRA has a presence in Minnesota and has taken advantage of business

opportunities in Minnesota. While the actual number of employees is likely much higher,

LinkedIn reflects that several PRA Health Sciences 8 employees work in Minnesota, 9 its posts jobs

in Minnesota on its webpage 10, and has been involved in at least six clinical studies with site




5
    See OB at 5-7, 22, 13, Pauls Declaration.
6
  The Koning declaration for PRA Netherlands (which reads like a legal brief’s arguments) states
that PRA Netherlands has not had any employees in Minnesota in the last nine years. Tellingly,
the Trepanier declaration for PRA USA is silent as to employees traveling to, or working in,
Minnesota. Clearly, PRA representatives on behalf of Defendants were in Minnesota before and
after the contract was signed. If the Court finds that additional evidence on jurisdiction in
Minnesota is needed, DiaMedica should be permitted to take jurisdiction discovery and provide
supplemental briefing. AB at 14, n. 9.
7
  Bulk Process Equip. v. Earth Harvest Mills, Inc., 2011 WL 1877836, at *3-4 (D. Minn. May 17,
2011) (finding personal jurisdiction where defendant solicited a business relationship with the
Minnesota plaintiff and communicated with plaintiff by phone and email); Rust Consulting, 2018
WL 1247390, at *2 (“In weighing the quality and quantity of a defendant’s contacts with the forum
state, courts have considered whether the defendant solicited a business relationship with a
company incorporated in the forum state…”). While telephone calls and emails may not alone be
sufficient to support jurisdiction, they can be considered in conjunction with other contacts to
establish jurisdiction. Appliance Recycling Centers of Am., Inc. v. AMTIM Capital, Inc., 2011 WL
3667763, at *4 (D. Minn. Aug. 22, 2011) (finding jurisdiction over defendant who initiated contact
with plaintiff in Minnesota to perform services in Canada pursuant to contracts governed by
Ontario law and who had multiple communications with plaintiff’s Minnesota based employees).
8
  PRA holds itself out as a global CRO with dozens of locations around the world, including the
location in the Netherlands. See OB at 7.
9
    Ex. A.
10
     Ex. B.

                                                 3
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      locations in Minnesota in recent years, some of which are on-going. 11 Defendants’ conclusory,

      cryptic, and incomplete declarations do not defeat the Motion. 12

II.             The Jumara Factors favor transfer

                As discussed below, these factors weigh in favor of transfer.

                A.     Private-interest factors

                Factors one and two

                Defendants argue that these factors weigh against transfer because neither Delaware nor

   Minnesota was DiaMedica’s first choice and Defendants favor neither. Under Jumara, the analysis

   is between the current jurisdiction and the proposed transferee jurisdiction.               Defendants’

   preference does not weigh against transfer. 13

                DiaMedica seeks to transfer the case to Minnesota because PRA Netherlands asserts that

      there is no jurisdiction over it here. 14 In light of the remedial purpose of the statute, this factor

      weighs in favor of transfer. 15

                Factor three

                There is no dispute that the causes of action did not arise in Delaware. Defendants admits

      that the claims at least partially arose in Minnesota. 16 They cite Philadelphia, the Netherlands, and



      11
           Ex. C.
      12
        Additionally, the claims against PRA USA should be transferred to avoid bifurcating the case.
      ANI Pharm., Inc. v. Method Pharm., LLC, 2019 WL 176339, at *7 (D. Del. Jan. 11, 2019).
      13
           Intellectual Ventures I LLC v. Altera Corp., 842 F. Supp. 2d 744, 755 (D. Del. 2012).
      14
        Section 1404(a) is the appropriate statue to transfer when venue is proper even if the court does
      not have jurisdiction over the defendant. Goldlawr, Inc. v. Heiman, 369 U.S. 462, 466 (1962).
      15
         See Chen v. Sagrera, 2017 WL 4001568, at *6 (D. Del. Sept. 11, 2017) (“‘Dismissal is
      considered to be a harsh remedy … and transfer of venue to another district court in which the
      action could originally been brought, is the preferred remedy.’” (citation omitted).
      16
           AB at 15.

                                                         4
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Chicago as possible places where the claims arose. Even if Defendants are correct, this factor still

weighs in favor of transfer as the claims did not arise in Delaware. 17

          Factor four

          Defendants do not dispute that: (1) Minnesota is more convenient to DiaMedica 18, (2)

Defendants are financially better able to bear the costs of traveling, or (3) Minnesota will place no

additional burdens on PRA Netherlands. 19 PRA USA argues that Delaware is more convenient

because it has affiliate offices in Pennsylvania. 20 But, PRA USA does not dispute that its personnel

from North Carolina involved in the dispute would have no more of a burden traveling to

Minnesota than Delaware.

          Factor five

          At worst, this factor is neutral.




17
   Douglas v. Chariots for Hire, 918 F. Supp. 2d 24, 32 (C.D. Cal. 2013) (“When the material
events that form the factual predicate of a plaintiff’s claim did not occur in his chosen forum,
transfer is favored.”). Ignoring this statement by the Douglas court, Defendants cite the case (AB
at 15, n. 10) for the proposition that when a claim arises under multiple fora, this factor is neutral.
Unlike the facts in Douglas, where some of the factual predicate arose in the forum where the
action was pending, it is undisputed that none of the factual predicate here arose in Delaware.
Thus, the “multiple fora” analysis does not apply.
18
   Defendants only argument on DiaMedica’s convenience is that its choice of Delaware is the best
indicator of its own convenience, citing Smart Audio Tech., LLC v. Apple, Inc., 910 F. Supp. 2d
718, 731 (D. Del. 2012). AB at 16. But, the Smart Audio court stated that the facts suggested that
transfer to California (where Apple sought to transfer the case) would be more convenient for
plaintiff, a Texas headquartered entity. Smart Audio, 910 F. Supp. 2d at 731. The Court found that
this factor was neutral because plaintiff had to travel from Texas to either Delaware or California.
Here, if the case is transferred, DiaMedica will not have to travel.
19
     OB at 12.
20
     OB at 12, 15.

                                                  5
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         Factor six

         Defendants argue that production of documents in the Netherlands would be “easier” and

“more efficient” due to certain foreign laws designed to protect individuals’ privacy. 21 Their

arguments are flawed. First, the cited laws do not prohibit disclosure. 22 Second, it is currently

unclear whether the private information that is protected by these foreign laws will be implicated

here. Participants in the Study obviously agreed to some disclosure outside of Netherlands as it

was always contemplated that the results of the Study would be used by DiaMedica in the United

States. Third, to the extent that such information would be implicated, there are methods to protect

this information, such as redacting or filing under seal. Finally, Defendants’ argument in favor of

the Netherlands is irrelevant to the determination of whether to transfer this action to Minnesota.

         B.      Public-interest factors

         Factor one

         Defendants question how a judgment against PRA USA is not more easily enforced in

Delaware than Minnesota. 23 First, when transfer is from one federal forum to another, this factor

has little relevance. 24 Second, any judgment against PRA USA can easily be transferred to any

state where its assets are located.




21
     AB at 16.
22
  AB, Lucassen Affidavit, ¶ 7 (“…the GDPR could impede or at least complicate, a company’s
ability to comply with the US litigation process requiring the production of EU personal data.”)
and ¶ 15 (“…the transfer of ‘evidence’ to a US court is not impossible…”).
23
     AB at 17.
24
     In re Howmedica Osteonics Corp., 867 F.3d 390, 410 (3d Cir. 2017).

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           Factor two

           Defendants complain that the Motion was filed six months after the case was filed and after

Defendants moved to dismiss. 25 But, there is no time limitation for filing a motion to transfer and

progress of the case doesn’t defeat the motion. 26 DiaMedica did not know until the motions were

filed on November 19, 2018 that Defendants were going to contest jurisdiction. 27 DiaMedica’s

response was to file the Motion. Thus, it acted promptly.

           Factor three

           Defendants argue that there is a 39% lag in adjudication in Minnesota.28 The difference

between the jurisdictions is only 11 months. Thus, this factor is not sufficient to tip the scales

against transfer.

           Factor four

           Defendants argue that the Netherlands has more of an interest than Minnesota. 29 Thus,

they concede, as between Delaware and Minnesota, Minnesota has the stronger interest.

           Factors five and six

           Defendants do not substantively address these factors.




25
     AB at 17.
26
  MEC Res., LLC v. Apple, Inc., 269 F. Supp. 3d 218, 228 (D. Del. 2017) (‘“A motion to transfer
should be made early in the proceeding. However, a mere passage of time or delay is not alone
sufficient to deny a motion to transfer.”’) (footnote omitted). DiaMedica discussed the reasoning
for filing in New York in its opening brief.
27
   Defendants’ reliance on Dibsie v. Gulf Stream Coach, Inc. is misplaced. There, other than a
forum selection clause, “not a single factor identified in Jumara weigh[ed] in favor of transfer.”
2008 WL 2230658, at *9 (D.N.J. May 28, 2008).
28
     AB at 18.
29
     Id.

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III.           Changed circumstance are not required

               Defendants argue that because there has been no change in circumstances, the Motion must

   be denied. Defendants are wrong. The remedial purpose of Section 1404(a) is to remove obstacles

   that impede adjudicating cases on the merits. 30 Mandating denial of a motion to transfer based on

   lack of change in circumstances does not promote this purpose. Additionally, the more recent

   trend does not require a plaintiff to demonstrate changed circumstances. 31

               The cases Defendants cited are inapplicable 32, as they do not involve a challenge to

   personal jurisdiction. Defendants cannot argue that this Court does not have personal jurisdiction,

       while simultaneously arguing that the Motion cannot be granted because DiaMedica has not

       demonstrated changed circumstances. Defendants are attempting to gut the remedial purpose of

       Section 1404(a) with a defense they raised after the complaint was filed. They should not be

       permitted to do so.

IV.            The Court need not address the motions to dismiss

               Defendants’ statute of limitations argument does not prevent transfer.

               First, Defendants’ motions to dismiss do not seek to dismiss the claim relating to the

       obligation to provide study-related data, records and document. So, the case cannot be dismissed

       in its entirety. 33 Thus, ruling on a statute of limitations defense will not prevent transfer.


   30
         Berkowitz, 328 F.2d at 361.
   31
      See, e.g., United States ex rel. Fisher v. Bank of Am., 204 F. Supp. 3d 618, 624 (S.D.N.Y. 2016)
   (finding that a motion to transfer is appropriate either where there is a change in circumstances or
   transfer would be in the interests of justice); Posven, C.A. v. Liberty Mut. Ins. Co., 303 F. Supp.
   2d 391, 407 (S.D.N.Y. 2004); Am. Home Assurance Co. v. Glovegold, Ltd., 153 F.R.D. 695, 700
   (M.D. Fla. 1994).
   32
         AB at 12.
   33
     Defendants attempt to convince the Court that the remainder of the claims should be dismissed
   (AB at 13, n. 7) by relying on evidence outside of the complaint to assert that they fulfilled their
   contractual obligations and that reliance by DiaMedica is not reasonable. AB, Flynn Declaration,
                                                          8
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          Second, Defendants assert that the statute of limitations began to run on November 14,

2014 when Defendants sent DiaMedica the preliminary results of the Study. 34 But they could not

have failed to perform the Study in accordance with the appropriate standards until the Study

actually had been performed. Thus, the claim accrued in late 2016, when Defendants released the

draft Clinical Study Report. In any event, there are factual issues that prevent dismissal.

          Third, Defendants neglect to mention that Delaware’s Savings statute applies when a prior

action fails for lack of personal jurisdiction after the statute of limitations has run. 35 The statute

grants plaintiff one year to refile the action. 36 The Savings statute reflects a public-policy

preference for deciding cases on their merits, is remedial in nature and is liberally construed. 37

          Here, the New York action, filed on November 14, 2017, was dismissed for lack of personal

jurisdiction on July 27, 2018. This action was filed on August 24, 2018. Accordingly, claims that

arose on or after November 14, 2014 will not be time barred. Again, DiaMedica disputes

Defendants’ arguments as to when the claims accrued. But, even accepting Defendants’ arguments

(which we do not), additional claims would survive a motion to dismiss, including, but not limited

to, the contract and promissory estoppel claims Defendants assert expired on November 14, 2014.




Koning Declaration. Of course, these factual disputes cannot be decided at this stage. Accordingly,
these “facts” should be disregarded.
34
 DiaMedica addresses the contract claim by way of example and reserves all its defenses to the
motions to dismiss.
35
  Cloud v. Amquip Corp., 2003 WL 21037653 at *2 (D. Del. 2003 Apr. 28, 2003); In re Asbestos
Litigation Gray v. Georgia Pacific Corp., C.A. No. 06C-04-230-ASB, (Del. Super. Dec. 19, 2008)
(Opinion) – Trans ID 23016184; Ex. D.
36
  10 Del. C. §8118; See Howmet Corp. v. City of Wilmington, 285 A.2d 423 (Del. Super. 1971);
Leavy v. Saunders, 319 A.2d 44, 45 (Del. Super. 1974).
37
     Reid v. Spazio, 970 A.2d 176, 181 (Del. 2009).

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       Finally, this Court should not decide which statute of limitations apply or whether claims

are barred by such limitations period. When a case is transferred under Section 1404(a) from a

venue that lacks personal jurisdiction over the defendant, it is the transferee court’s law that will

apply, not the transferor’s. 38 Thus, Delaware’s choice of law and borrowing statute will not apply

to the claims against PRA Netherlands after transfer.

                                         CONCLUSION

       DiaMedica requests that the Court exercise its discretion and transfer this case to Minnesota

as this action could have been properly filed in that jurisdiction and the Jurmama factors weigh in

favor of transfer. There is no need to address Defendants’ statute of limitation claims because this

case will survive no matter the outcome of Defendants’ motion and therefore, the transferee court

ought to decide those issues.

April 8, 2019                            SMITH KATZENSTEIN JENKINS, LLP
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38
  Reyno v. Piper Aircraft Co., 630 F.2d 149, 164-64 (3d Cir. 1980) rev’d on other grounds 454
U.S. 235 (1981) (“As with any other statute, we must construe § 1404(a) to avoid any constitutional
problem, and so hold that when there has been an interstate transfer without personal jurisdiction,
the transferor state’s choice of law does not apply to that defendant.”); Weber v. McDonald’s Sys.
Of Europe, Inc., 660 F. Supp. 10, 12-13 (D. Del. 1985).

                                                 10
